              IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                      (SOUTHERN DIVISION)

                         Civil Action No.: 7:18-CV-122-FL



D.B.G., CARLOS BAEZA CORDOVA;                )
and TERESA DeJESUS GARCIA                    )
GONZALEZ,                                    )
                                             )
                    Plaintiffs,              )
                                             )
 v.                                          )
                                             )      ORDER ALLOWING
THE BOARD OF EDUCATION FOR                   )   DOCUMENTS TO BE FILED
THE PUBLIC SCHOOLS OF ROBESON )                       UNDER SEAL
COUNTY; LANCE ADAM HAIR,                     )
individually and in his capacity as          )
former bus driver for St. Paul’s             )
Elementary School; ROBERT                    )
LOCKLEAR, individually and in his            )
official capacity as Principal of St. Paul’s )
Elementary School; RAYMOND                   )
CUMMINGS, individually and in his            )
capacity as Director of Transportation for )
the Public Schools of Robeson County;        )
and CHRISTOPHER JONES,                       )
individually and in his capacity as TIMS )
Coordinator for the Public Schools of        )
Robeson County,                              )
                                             )
                    Defendants.              )




    Plaintiffs have moved the court for leave to file under seal their Index of
Exhibits and accompanying exhibits in support of their motion for default judgment
(DE 80)

     This motion is supported by good cause and is HEREBY ALLOWED.




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This 3rd day of August, 2020.




                                   _________________________
                                   Louise W. Flanagan
                                   United States District Judge




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